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6                  IN THE UNITED STATES DISTRICT COURT FOR THE

7                        EASTERN DISTRICT OF CALIFORNIA

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9    MARCO ANTONIO NEGRETE-SAENZ,      )       No. CV-F-08-852 OWW
                                       )       (No. CR-F-02-5408 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                     Petitioner,     )       ORDER DENYING PETITIONER'S
                                       )       MOTION TO VACATE, SET ASIDE
12             vs.                     )       OR CORRECT SENTENCE PURSUANT
                                       )       TO 28 U.S.C. § 2255 AND
13                                     )       DIRECTING CLERK OF COURT TO
     UNITED STATES OF AMERICA,         )       ENTER JUDGMENT FOR
14                                     )       RESPONDENT
                                       )
15                     Respondent.     )
                                       )
16                                     )

17

18        On June 11, 2008, pursuant to the “mailbox rule,” Petitioner

19   Marco Antonio Negrete-Saenz timely filed a motion to vacate, set

20   aside or correct sentence pursuant to 28 U.S.C. § 2255.

21        Petitioner was charged in Count One of the Third Superseding

22   Indictment with co-defendants Manuel Solorzano Contino aka Victor

23   Sanchez Sepulveda, Gilberto Maldonado, and Javier Villavicencio

24   as follows:

25             defendants herein, beginning at a time
               unknown to the grand jury, but not later than
26             on or about August 1, 2002, and continuing to

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1                on or about August 3, 2002, in the County of
                 Stanislaus, State and Eastern District of
2                California, and elsewhere, did knowingly and
                 intentionally agree and conspire with each
3                other and with other persons unknown to the
                 Grand Jury, to aid and abet the manufacture
4                of 50 grams or more of methamphetamine, a
                 Schedule II controlled substance, and to
5                possess pseudoephedrine, a listed chemical,
                 knowing or having reasonable cause to believe
6                it would be used to manufacture
                 methamphetamine, in violation of Title 21,
7                United States Code, Sections 841(a)(1),
                 841(b)(1)(A), 841(c)(2), and 846.
8
     Petitioner was also charged with attempted possession of
9
     pseudoephedrine, intending to manufacture methamphetamine (Count
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     Two); possession of a firearm in furtherance of a drug
11
     trafficking crime (Count Three); unlawful use of a communication
12
     facility to facilitate a felony narcotic offense and aiding and
13
     abetting (Count Four); maintaining a manufacturing operation
14
     (Count Five); and criminal forfeiture (Count Six).          Petitioner
15
     was convicted by jury trial of Counts One, Two and Four and found
16
     not guilty of Counts Two and Five.       Petitioner was sentenced to
17
     235 months incarceration and a 60 month term of supervised
18
     release.
19
          Petitioner appealed to the Ninth Circuit on the sole ground
20
     that the District Court erred by denying a two-level reduction in
21
     offense level for acceptance of responsibility.         The Ninth
22
     Circuit affirmed Petitioner’s conviction and sentence.
23
          A.    Ineffective Assistance of Counsel.
24
          Petitioner contends that he was denied the effective
25
     assistance of trial and appellate counsel because of their
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1    failure to challenge Count One of the Third Superseding

2    Indictment as duplicitous, by failing to request a special

3    verdict, and failing to raise the absence of a special verdict as

4    plain error on appeal.

5               1.   Governing Standards.

6         To establish an ineffective assistance of counsel claim,

7    Petitioner must show: (1) the representation was deficient,

8    falling “below an objective standard of reasonableness”; and (2)

9    the deficient performance prejudiced the defense.          Strickland v.

10   Washington, 466 U.S. 668, 687 (1984).        The Court need not

11   evaluate both prongs of the Strickland test if the petitioner

12   fails to establish one or the other.       Strickland, id. at 697;

13   Thomas v. Borg, 159 F.3d 1147, 1152 (9th Cir.1998), cert. denied,

14   526 U.S. 1055 (1999).

15        Under the first prong, Petitioner must show that “counsel

16   made errors so serious that counsel was not functioning as the

17   ‘counsel’ guaranteed the defendant by the Sixth Amendment.”

18   Strickland, 466 U.S. at 687.      “A convicted defendant making a

19   claim of ineffective assistance must identify the acts or

20   omissions of counsel that are alleged not to have been the result

21   of reasonable professional judgment.”        Id. at 690.    “A fair

22   assessment of attorney performance requires that every effort be

23   made to eliminate the distorting effects of hindsight, to

24   reconstruct the circumstances of counsel’s challenged conduct,

25   and to evaluate the conduct of counsel’s performance at the

26   time.”   Id. at 689.    The proper inquiry is whether, “in light of

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1    all the circumstances, the identified acts or omissions were

2    outside the wide range of professionally competent assistance.”

3    Id.      The court must apply “a heavy measure of deference to

4    counsel’s judgments,” and “must indulge a strong presumption that

5    counsel’s conduct [fell] within the wide range of reasonable

6    professional assistance.”        Id. at 690-691.      “The relevant inquiry

7    under Strickland is not what defense counsel could have pursued,

8    but rather whether the choices made by defense counsel were

9    reasonable.”      Siripongs v. Calderon, 133 F.3d 732, 736 (9th

10   Cir.1988).      “The failure to raise a meritless legal argument does

11   not constitute ineffective assistance of counsel.”             Shah v.

12   United States, 878 F.2d 1156, 1162 (9th Cir.1989).            A decision to

13   waive an issue where there is little or no likelihood of success

14   and concentrate on other issues is indicative of competence, not

15   ineffectiveness.       See Miller v. Keeney, 882 F.2d 1428, 1434 (9th

16   Cir.1989).

17           To meet the prejudice requirement, the petitioner must

18   demonstrate that errors “actually had an adverse effect on the

19   defense.”      Strickland, 466 U.S. at 693.       “It is [also] not enough

20   for the defendant to show that the errors had some conceivable

21   effect on the outcome of the proceeding.”           Id.   “Virtually every

22   act or omission of counsel would meet that test, and not every

23   error that conceivably could have influenced the outcome

24   undermines the reliability of the result of the proceeding.”             Id.

25   “The defendant must show that there is a reasonable probability

26   that, but for counsel’s unprofessional errors, the result of the

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1    proceeding would have been different.        A reasonable probability

2    is a probability sufficient to undermine confidence in the

3    outcome.    Id. at 694.

4                2.   Duplicitous Indictment.

5         Petitioner asserts that he was denied the effective

6    assistance of trial and appellate counsel because of their

7    failure to challenge Count One of the Third Superseding

8    Indictment as duplicitous.

9         An indictment may allege several substantive offenses in a

10   conspiracy count because a conspiracy can have more than one

11   object.    United States v. Begay, 42 F.3d 486, 501 (9th Cir.1994);

12   United States v. Smith, 891 F.2d 703, 712 (9th Cir.1989).            As

13   explained in United States v. Zemek, 634 F.2d 1159, 1167-1168

14   (9th Cir.1980):

15               The general test is whether there was ‘one
                 overall agreement’ to perform various
16               functions to achieve the objectives of the
                 conspiracy ... Performance of separate crimes
17               or separate acts in furtherance of a
                 conspiracy is not inconsistent with a ‘single
18               overall agreement.’ ... The general test also
                 comprehends the existence of subgroups or
19               subagreements.

20               Several circuits have applied a ‘factors’
                 analysis to distinguish single from multiple
21               conspiracies ... Relevant factors include the
                 nature of the scheme; the identity of the
22               participants; the quality, frequency and
                 duration of each conspirator’s transactions;
23               and the commonality of time and goals. A
                 single conspiracy can be identified here
24               either by isolating various elements under
                 the ‘factors’ analysis or by aggregating
25               evidence under the ‘single agreement’ test.

26        On July 30, 2002, a reliable confidential informant

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1    contacted Agent Anthony Arguelles of the Stanislaus County Drug

2    Enforcement Agency and advised that he had met with Negrete, an

3    itinerant field worker, at a well-known drug traffickers’ bar in

4    Turlock, California.1    During their conversation, Negrete told

5    the informant that he was interested in purchasing twenty cases

6    of pseudoephedrine pills (which would contain 345,600

7    pseudoephedrine pills).     The next day, Agent Arguelles monitored

8    a telephone call between the informant and Negrete to discuss the

9    twenty case pseudoephedrine pill transaction.         They agreed at

10   that time to meet the next day at a Jack in the Box restaurant in

11   Turlock. On August 1, 2002, Negrete met with the informant at the

12   Jack in the Box, as agreed.      Negrete continued to negotiate for

13   the purchase of twenty cases of pseudoephedrine for $76,000.

14   Negrete also discussed the possibility of selling methamphetamine

15   to the informant.    Negrete then drove to his residence at 900 S.

16   First Street in Turlock, which is a short distance from the Jack

17   in the Box restaurant, to try to obtain a sample of

18   methamphetamine.    About one-half hour later, Negrete returned to

19   the Jack in the Box empty-handed but continued to discuss the

20   purchase of twenty cases of pseudoephedrine.         The informant

21   provided a sample of pseudoephedrine pills to Negrete.           Negrete

22   told the informant that he would have his associates test the

23   pseudoephedrine to see if it was “good.”        Negrete agreed to do

24

25        1
           This statement of facts is derived from the Government’s
     brief to the Ninth Circuit in response to Petitioner’s appeal from
26   his conviction and sentence.

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1    the deal on August 3, 2002.      On August 2, 2002, Negrete called

2    the informant and said that he still wanted twenty cases of

3    pseudoephedrine but could not come up with $76,000.          Instead,

4    Negrete offered to trade $23,000 in cash, three pounds of

5    methamphetamine having an estimated street value of $7,000 to

6    $9,000, and a brand new Chevrolet Tahoe for which the informant

7    “could receive a good amount of money ... on the black market.”

8    After this telephone call, Negrete, Vega, Sanchez, Maldonado, and

9    Villavicencio all made telephonic contact with each other in

10   anticipation of the pseudoephedrine pill deal to occur the next

11   day.   On August 3, 2002, Negrete and Vega arrived together in a

12   silver Chevrolet pickup at the Home Depot parking lot at 2800

13   Countryside Drive in Turlock and met with the informant.             At the

14   outset, Negrete and Vega told the informant that they were not

15   happy with the location, because many drug dealers had been

16   arrested there in the past.      While Negrete and Vega continued to

17   negotiate with the informant, Sanchez, who was driving a gray

18   Chevrolet Avalanche, was conducting counter-surveillance in the

19   Home Depot parking lot.     During their negotiations, Negrete

20   repeatedly referred to Villavicencio as his ‘compa’ or partner,

21   who had the three pounds of methamphetamine, $23,000 in cash, and

22   the Tahoe, which Villavicencio was driving, for trade.           After

23   Vega and Negrete told the informant that the money and drugs

24   would be ready in about thirty minutes, they left the Home Depot

25   parking lot and drove to Sunny View Park at 700 S. Berkeley

26   Avenue in Turlock to pick up the Tahoe, money and

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1    methamphetamine.

2         After meeting with Villavicencio, Negrete and Vega returned

3    to the Home Depot parking lot, while Sanchez continued to conduct

4    counter-surveillance.     Negrete told the informant that

5    Villavicencio wanted to move the transaction to a different

6    location.   A few minutes later, Vega called Villavicencio to

7    convince him to complete the deal at the Home Deport parking lot.

8    Vega then left the Home Depot parking lot in the Chevrolet

9    pickup, while Negrete continued negotiating with the informant.

10   Several minutes later, Vega and Sanchez, driving their respective

11   vehicles, returned to Sunny View Park, where they met with

12   Villavicencio.   A short time later, co-defendant Maldonado, who

13   was driving a Chevrolet Suburban, also arrived at the park, made

14   a call on his cellular telephone, and then left.          Several minutes

15   later, Vega also left the park and returned to the Home Depot

16   parking lot, where Vega and Negrete continued to negotiate with

17   the informant.   Vega told the informant that Villavicencio wanted

18   to see the pseudoephedrine before concluding the deal.           The

19   informant then retrieved a bottle of pseudoephedrine from his

20   vehicle and showed it to Negrete and Vega.         After inspecting the

21   pills, Negrete and Vega told the informant they liked what they

22   saw and said they would arrange for the deal to occur.           They then

23   again left the Home Depot parking lot and returned to Sunny View

24   Park.   Maldonado arrived shortly thereafter.

25        At the park, Maldonado, Negrete, and Vega met and conferred

26   with Villavicencio.    Negrete and Vega then returned to the Home

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1    Depot parking lot, as did Sanchez, all in their respective

2    vehicles, where they all met and continued to negotiate with the

3    informant.   After the informant showed Sanchez the sample bottles

4    of pseudoephedrine, Sanchez offered $11,000 in cash, along with

5    his Avalanche, in exchange for the twenty cases of

6    pseudoephedrine.    Sanchez further indicated that ‘another

7    partner’ who had the cash would arrive shortly.         At that time,

8    Maldonado arrived at the Home Depot parking lot.          Vega then met

9    with Maldonado and returned to the informant with the money.         The

10   informant then advised that $11,000 in cash was insufficient.

11   Sanchez said he could get more money and would leave his

12   Avalanche as a security deposit until he could gather more cash.

13   He also stated that Maldonado’s Suburban was available for trade.

14   Vega then gave the informant the purported $11,000, along with

15   the keys to Sanchez’ Avalanche.       When the bust signal was given,

16   Negrete, Maldonado, Vega and Sanchez ran from the area but were

17   ultimately arrested.

18        At the time of his arrest, Villavicencio provided false

19   information to the agents.      After counting the seized cash, law

20   enforcement agents determined that the defendants had not

21   delivered $11,000 in cash but had only delivered $10,600 and two

22   counterfeit $50 bills.     In addition, agents found a stolen Glock

23   9 millimeter firearm in Maldonado’s vehicle.         A search of

24   Negrete’s residence revealed an ephedrine extraction laboratory

25   in the garage, which indicated that the extraction of large

26   amounts of pseudoephedrine had occurred there.         In addition, a

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1    .22 caliber pistol and a bag of 9 millimeter and .22 caliber

2    ammunition were seized from the lab.       Negrete did not provide a

3    post-arrest statement, but his co-defendants did.         Maldonado said

4    that Negrete had recruited him for the drug deal and said he

5    would pay Maldonado $1,000 in cash for his assistance.          Vega said

6    that he was recruited by Negrete and Villavicencio to assist

7    Negrete in negotiating for the purchase of pseudoephedrine pills.

8

9         Petitioner argues that the factors used to determine whether

10   a conspiracy is duplicitous shows that Count One charged two

11   conspiracies - one to aid and abet the manufacture of

12   methamphetamine and the second to possess pseudoephedrine, a

13   listed chemical, knowing or having reasonable cause to believe it

14   would be used to manufacture methamphetamine.         Petitioner argues

15   that the “nature of the conspiracy” suggests two conspiracies:

16             The primary agreement between the informant
               and petitioner and his co-defendants was the
17             purchase of 20 cases of pseudoephedrine to
               petitioner [sic]. The evidence does not show
18             that the parties contemplated or discussed
               any plans for the manufacturing of
19             methamphetamine.

20             The conspiracy to [sic] a sale of
               methamphetamine by Marco to the informant was
21             pursuant to a separate agreement, made after
               the informant and petitioner discussed the
22             purchase and sale of 20 cases of
               pseudoephedrine at $3,000 per case. The
23             commonality of time factor also points to two
               conspiracies. In first [sic] place, the
24             informant offered to sell to petitioner and
               his co-defendants 20 cases of pseudoephedrine
25             at $3,000 per case on August 1, 2002, while
               the conspiracy to a sale of methamphetamine
26             to the informant after [sic] it was

                                        10
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1              manufacture emerged on August 1 & 2, 2002.

2         Petitioner’s contention is without merit.         The evidence

3    demonstrates that there was a single conspiracy to acquire

4    pseudoephedrine to extract ephedrine from it to aid and abet the

5    manufacture of methamphetamine.      Petitioner’s reliance on United

6    States v. Gordon, 844 F.2d 1397 (9th Cir.1988) is misplaced.          The

7    indictment in Gordon alleged conspiracies that occurred at

8    different times.   The first was a conspiracy to defraud the

9    United States, ending in August or September of 1983.          The second

10   was a conspiracy to obstruct a grand jury’s investigation of the

11   first conspiracy, beginning in March of 1984.         Trial counsel and

12   appellate counsel were not constitutionally ineffective by

13   failing to assert that Count One was duplicitous; the argument

14   has no merit.

15             3.    Special Verdict.

16        Petitioner contends that he was denied the effective

17   assistance of counsel because of counsel’s failure to request a

18   special verdict specifying the jury’s verdict as to the object of

19   the conspiracy charged in Count One.       Petitioner contends that he

20   was denied the effective assistance of appellate counsel because

21   appellate counsel should have argued that the absence of a

22   special verdict was plain error mandating resentencing him based

23   on the object of the conspiracy that required the lowest period

24   of incarceration, using communication facilities to facilitate

25   the commission of drug offenses.

26        Petitioner’s claim is without merit.        A special verdict form

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1    was submitted to the jury and the jury specifically found

2    Petitioner guilty of the conspiracy charged in Count I and that

3    the United States had proved that the first object of the

4    conspiracy was to aid and abet the manufacture of 50 grams or

5    more of methamphetamine and had proved that the second object of

6    the conspiracy was to possess pseudoephedrine, a listed chemical,

7    knowing or having reasonable cause to believe it would be used to

8    manufacture methamphetamine.       (Doc. 211).    Petitioner’s claims of

9    ineffective assistance of trial and appellate counsel on this

10   ground are baseless.

11         For the reasons stated:

12         1.     Petitioner Marco Negrete-Saenz’s motion to vacate, set

13   aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED;

14         2.     The Clerk of the Court is directed to enter JUDGMENT FOR

15   RESPONDENT.

16         IT IS SO ORDERED.

17   Dated:     July 22, 2008               /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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